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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                               )
In re:                                                         )   Chapter 11
                                                               )
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           )   Case No. 19-12239 (CSS)
                                                               )
                                 Debtor.                       )
                                                               )

            NOTICE OF APPEARANCE AND DEMAND FOR NOTICES AND
          PAPERS FOR OFFICAL COMMITTEE OF UNSECURED CREDITORS

         PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors (the

“Committee”)in the above captioned bankruptcy case, hereby enters its appearance by and through

its proposed counsel, Sidley Austin LLP, pursuant to 11 U.S.C. § 1109(b) and rule 9010(b) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”); and such counsel hereby

requests, pursuant to Bankruptcy Rules 2002, 3017 and 9007 and 11 U.S.C. §§ 342 and 1109(b),

that all copies of all notices and pleadings given or filed in the above-captioned case be given to

and served upon the attorneys listed below at the following addresses, email addresses, and

telephone numbers:

Bojan Guzina                                              Jessica Boelter
Matthew Clemente                                          SIDLEY AUSTIN LLP
Alyssa Russell                                            787 Seventh Avenue
SIDLEY AUSTIN LLP                                         New York, New York 10019
One South Dearborn Street                                 Telephone: (212) 839-5300
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         The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
         address for the above captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                                                    Penny P. Reid
                                                    Paige Holden Montgomery
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                                                    2021 McKinney Avenue Suite 2000
                                                    Dallas, Texas 75201
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                                                            pmontgomery@sidley.com


        PLEASE TAKE FURTHER NOTICE that, pursuant to 11 U.S.C. § 1109(b), the

foregoing demand includes not only the notices and papers referred to in the Bankruptcy Rules

specified above, but also includes, without limitation, any notice, application, complaint, demand,

motion, petition, pleading, or request, whether formal or informal, written or oral, and whether

transmitted or conveyed by mail, delivery, telephone, or otherwise filed or made with regard to the

referenced case and proceedings herein.

        PLEASE TAKE FURTHER NOTICE that neither this notice nor any subsequent

appearance, pleading, claim, or suit is intended nor shall be deemed to waive the Committee’s

(i) right to have final orders in non-core matters entered only after de novo review by a district

court judge; (ii) right to trial by jury in any proceedings so triable herein or in any case, controversy

or proceeding related hereto; (iii) right to have the reference withdrawn by the United States

District Court in any matter subject to mandatory or discretionary withdrawal; or (iv) other rights,

claims, actions, defenses, setoffs or recoupments to which it is or may be entitled under agreements,

at law or in equity, all of which rights, claims, actions, defenses, setoffs and recoupments expressly

are hereby reserved.

                            [Remainder of Page Intentionally Left Blank]




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Dated: October 30, 2019
Chicago, Illinois                         /s/ Bojan Guzina
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                                          Proposed Counsel for the Official Committee of
                                          Unsecured Creditors




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